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            EXHIBIT 1-H
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                                 DEPARTMENT OF DEFENSE
                             OFFICE OF THE GENERAL COUNSEL
                                      1600 DEFENSE PENTAGON
                                     WASHINGTON, DC 20301 - 1600




                                                                    JUL 2 4 2019

Mark S. Zaid
1250 Connecticut Ave., NW
Washington, DC 20036

VIA EMAIL

Dear Mr. Zaid:

       I received your July 18 letter. We are pleased that Mr. Snodgrass is open to further
dialogue about the attributed material in his manuscript, and we propose that he meet with
government reviewers in mid-August. Because all components will have completed their
reviews by then, the discussion could center on particular unclassified passages that, if published,
would constitute a breach of trust. Mr. Snodgrass should contact the Defense Office of
Prepublication and Security Review to make arrangements.

        We also are pleased that Mr. Snodgrass understands and does not intend in the future to
violate the trust that the Secretary of Defense, on behalf of the United States, placed in him as a
military officer and confidant of our nation' s closely held communications, classified or not. His
oath of office and personal integrity impart a special obligation to protect such information
regardless of classification. There is a range of potential consequences for violating that oath.
See, e.g. , SECNAV Inst. 1929.6C, Administrative Separation o/Ojjicers, Encl. 6 (Dec. 15,
2005), as amended. The fact that the October 3, 2017 guidance spelling out the solemnity of the
special obligation was, as you relate, "written in large part by Mr. Snodgrass" will assist in his
discussion with the reviewers .

        With respect to another point in your letter, I must make clear that the government has
made no concessions on the classification status of any passage in Mr. Snodgrass' s manuscript.
On July 10 you requested that DoD acknowledge your claim that nothing legally prohibits Mr.
Snodgrass from publishing unclassified statements made in the Tank. My July 17 response
referred to your claim and expressly rejected it. In no way can this reference be read as
corroborating or conceding that entire chapters of the manuscript are unclassified, especially
when the government has yet to issue a final determination. It is disingenuous to suggest
otherwise.

        Finally, you should be advised that Mr. Snodgrass contacted our offices by phone on
July 18. Knowing that he is represented by counsel, we did not accept the call. His literary
agent also called recently. Please advise if you authorize speaking with Mr. Snodgrass or his
agent outside the presence of counsel.




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      You may contact Alci Ortiz of my office (alcides.ortiz-ferrari.civ@mail.mil,
703-571-0795) with any questions.




                                               Robert E. Easton
                                               Director, Office of Litigation Counsel




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